
PER CURIAM.

ORDER

The court has received a certified copy of the judgment from the Clerk of the Supreme Court of the United States in United States v. Navajo Nation, — U.S. -, 129 S.Ct. 1547, 173 L.Ed.2d 429 (2009).
Upon consideration thereof,
IT IS ORDERED THAT:
(1)The mandate issued on January 22, 2008, is hereby recalled and the appeal is reinstated.
(2) The case is returned for consideration to the original merits panel.
(3) The Supreme Court has remanded this case to this court, and directed this court to affirm the Court of Federal Claims in its dismissal of the Tribe’s complaint. The judgment of the trial court is hereby affirmed.
